             Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 1 of 7



 1   Joseph R. Saveri (State Bar No. 130064)
     JOSEPH SAVERI LAW FIRM, LLP
 2   601 California Street, Suite 1505
 3   San Francisco, CA 94108
     Telephone: (415) 500-6800
 4   Facsimile: (415) 395-9940
     Email:      jsaveri@saverilawfirm.com
 5

 6   Matthew Butterick (State Bar No. 250953)
     1920 Hillhurst Avenue, #406
 7   Los Angeles, CA 90027
 8   Telephone: (323) 968-2632
     Facsimile: (415) 395-9940
 9   Email:     mb@buttericklaw.com
10
     Laura M. Matson (pro hac vice forthcoming)
11   LOCKRIDGE GRINDAL NAUEN PLLP
     100 Washington Avenue South, Suite 2200
12   Minneapolis, MN 55401
13   Telephone: (612) 339-6900
     Facsimile: (612) 339-0981
14   Email:     lmmatson@locklaw.com
15
     [Additional counsel listed on signature page]
16

17                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
18                                     SAN FRANCISCO DIVISION
19
     JILL LEOVY, NICHOLAS GUILAK, CAROLINA                 Case No. 3:23-cv-3440-AMO
20
     BARCOS, PAUL MARTIN, MARILYN
21   COUSART, ALESSANDRO DE LA TORRE,
     VLADISSLAV VASSILEV, JANE DASCALOS,
22   and minor G.R., individually, and on behalf of all    ZHANG PLAINTIFFS’ OPPOSITION
     other similarly situated,                             TO ADMINISTRATIVE MOTION TO
23
                                          Plaintiffs,      CONSIDER WHETHER CASES
24                                                         SHOULD BE RELATED
             v.
25   Google LLC,
26                                        Defendant.
27

28

      Case No. 3:23-cv-3440-AMO
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
             Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 2 of 7



 1           Non-Parties Jingna Zhang, Sarah Andersen, Hope Larson, and Jessica Fink—plaintiffs in

 2   the action captioned Zhang, et al. v. Google LLC, et al., Case No. 5:24-cv-02531-EJD (N.D. Cal.),

 3   filed in this District on April 26, 2024 (the “Zhang Action”)—respectfully submit this Opposition

 4   to Defendant Google LLC’s (“Google”) Administrative Motion to Consider Whether Cases Should

 5   Be Related (ECF No. 42), which seeks to relate the Zhang Action to the above-captioned case,

 6   Leovy, et al. v. Google LLC, Case No. 3:23cv-03440-AMO (the “Leovy Action”), filed in this

 7   District on July 11, 2023. As explained below, the two cases do not concern substantially the same

 8   parties, property, transaction, or events, and it is unlikely that there will be an unduly burdensome

 9   duplication of labor and expense or conflicting results if the cases proceed before different judges.

10      I.       BACKGROUND

11           A. The Leovy Action

12           Plaintiffs in the Leovy Action filed a putative class action against Google on July 11, 2023,

13   on behalf of persons in the United States who allegedly own copyrights in works that were used

14   as training data for Google “Products.” ECF No. 28 ¶ 398(b). The “Products” at issue include: (1)

15   Google Imagen, a text-to-image AI model trained on a vast dataset of images paired with textual

16   descriptions; (2) Google Gemini, a multimodal AI model trained on vast datasets of text, images,

17   audio recordings, and videos; (3) Google Bard, an AI large language model or “chatbot” trained

18   on a vast dataset of text; (4) Google MusicLM, a text-to-music AI model trained on a vast dataset

19   of music pieces; and (5) Google Duet AI, an AI productivity tool trained on datasets from Google

20   Cloud for tasks such as application operations, data analysis and visualization, database
21   management, and cybersecurity. The Leovy plaintiffs assert claims for (1) unfair competition, (2)

22   negligence, (3) computer fraud, (4) invasion of privacy, (5) intrusion upon seclusion, (6) larceny,

23   (7) conversion, (8) trespass, (9) intentional interference with contract, (10) breach of contract, (11)

24   unjust enrichment, and (12) direct copyright infringement. Briefing on the motion to dismiss

25   concluded on April 4, 2024, and the case management conference is set for October 3, 2024. Id.

26   ¶¶ 111-120.

27           B. The Zhang Action

28           Plaintiffs in the Zhang Action filed a putative class action against Google and Alphabet Inc.

      Case No. 3:23-cv-3440-AMO                       1
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
               Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 3 of 7



 1   on April 26, 2024, on behalf of visual artists who own copyrights in certain images that Google

 2   has admitted to copying without authorization to train Google Imagen and, on information and

 3   belief, Google Gemini. The Zhang plaintiffs assert claims for (1) direct copyright infringement (17

 4   U.S.C. § 501), and (2) vicarious copyright infringement. Defendants’ response to the complaint is

 5   due on or before June 20, 2024, and the case management conference is set for August 22, 2024.

 6       II.      ARGUMENT

 7             Under Civil L.R. 3-12, an action is related to another when: (1) “[t]he actions concern

 8   substantially the same parties, property, transaction, or event;” and (2) “[i]t appears likely that there

 9   will be an unduly burdensome duplication of labor and expense or conflicting results if the cases

10   are conducted before different Judges.” Neither requirement is met here.

11             A. The Zhang and Leovy Actions Are Not Substantially the Same

12             The Zhang and Leovy Actions do not concern substantially the same parties, property,

13   transaction, or events. First, the two actions have only one party in common: Google. Alphabet

14   Inc., a defendant in the Zhang Action, is not a party in Leovy. Additionally, none of the thirteen

15   plaintiffs in Zhang and Leovy are plaintiffs in both actions. Moreover, the named

16   plaintiffs in the Zhang action are entirely visual artists, while the named plaintiffs in Leovy include

17   Leovy, an author and investigative journalist, and plaintiffs who used Google Bard and other

18   Google products on their personal computers—none of whom are visual artists and none of whom

19   appear to have any copyright registrations in images (see ECF No. 28 ¶¶ 13-98). See, e.g., Tecson

20   v. Lyft, Inc., No. 18-CV-06782-YGR, 2019 WL 1903263, at *3 (N.D. Cal. Apr. 29, 2019) (denying
21   motion to relate where the putative class members had a different relationship with Lyft in each

22   case); Nozolino v. Hartford Life & Acc. Ins. Co., No. 12-CV-04314-JST, 2013 WL 2468350, at *1

23   (N.D. Cal. June 7, 2013) (denying motion to relate cases even though both cases involve ERISA

24   claims and the same defendant). And the possibility that the proposed copyright class in Leovy, if

25   certified, might encompass the proposed class in Zhang is a premature and irrelevant consideration

26   at this stage—neither case has reached class certification, so for purposes of the instant analysis,

27   each plaintiff is proceeding individually in his or her respective case. The possibility of some

28   overlap between class members is also irrelevant. See, e.g., Ortiz v. CVS Caremark Corp., No. C-

      Case No. 3:23-cv-3440-AMO                       2
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
             Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 4 of 7



 1   12-05859(EDL), 2013 WL 12175002, at *2 (N.D. Cal. Oct. 15, 2013) (denying motion to relate

 2   because “the limited overlap of some class members is not enough to reach the ‘substantial

 3   similarity’ threshold”).

 4           Second, the property at issue in each case is different. The Zhang plaintiffs are suing to

 5   enforce their copyrights in singular pieces of visual art. The Leovy plaintiffs, on the other hand,

 6   seek to protect a much wider selection of works—e.g., headshots and voice reels (ECF No. 28 ¶

 7   21), teaching materials (id. ¶ 30), social media posts (id. ¶ 41), YouTube videos (id. ¶ 54), Spotify

 8   music playlists (id. ¶ 64), information exchanged through Gmail (id. ¶ 76), “private information”

 9   (id. ¶ 90), and Google search activity (id. ¶ 94). Thus, although in both actions Google allegedly

10   copied “property” from the internet, the individual works at issue in each action are wholly

11   distinctive in nature and substance and are not “substantially the same.”

12           Third, there is no allegation that the “transactions” or “events” at issue in the Zhang Action

13   are the same as those at issue in Leovy. A cursory review of the two complaints reveals the

14   substantial differences between the two actions. The Zhang Action centers on the alleged copying

15   of images that appear in the LAION-400M dataset—a collection of approximately 400 million

16   images with accompanying textual descriptions—to train Google Imagen and Google Gemini,

17   whereas the Leovy Action focuses on Google Bard and large language models. Indeed, Leovy

18   barely touches on images, mentioning Google Imagen and the LAION dataset in just one paragraph

19   (see ECF No. 28 ¶ 114), and Google Gemini in just four paragraphs (id. ¶¶ 117-20). While plaintiffs

20   in both actions allege that Google used the LAION-400M dataset to train Google Imagen and
21   Google Gemini, the specific transactions or events where Google copied plaintiffs’ copyrighted

22   works are unlikely to overlap. Moreover, in addition to images, the Leovy Action concerns text,

23   audio recordings, and video. However Google obtained such data, it did not obtain it from the

24   LAION-400M dataset of image-text pairs. The transactions and events underlying the alleged

25   infringements in each case are therefore necessarily different.

26           Finally, other indicia of similarity reveal how unrelated the two actions really are. For

27   example, the claims asserted in the two actions are almost entirely dissimilar. The Zhang Action

28   involves two federal copyright claims. Leovy, by contrast, involves eleven state law claims and

      Case No. 3:23-cv-3440-AMO                       3
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
             Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 5 of 7



 1   one federal copyright claim, meaning the two actions share just a single claim. Likewise,

 2   Google’s defenses in the two actions will not be identical. There are a whole slate of defenses

 3   Google can raise in response to the Leovy plaintiffs’ state law claims that are irrelevant to the

 4   federal copyright claims in Zhang. And even to the extent Google raises an affirmative defense

 5   like fair use in both actions, the underlying facts will necessarily be different in each action,

 6   especially given the differences in nature and substance of the respective works at issue. See Los

 7   Angeles News Serv. v. CBS Broadcasting, Inc., 305 F.3d 924, 937 (9th Cir. 2022) (“Fair use

 8   requires individualized weighing of the equities of a given use of a given work.”). In short, the

 9   two actions do not concern substantially the same parties, property, transaction, or events.

10            B. No Undue Burden Will Result From the Actions Proceeding Separately

11           From the Zhang plaintiffs’ perspective, having these cases proceed together would increase

12   the burden of litigation, waste an enormous amount of attorney time, delay resolution of the

13   dispute, and muddy the issues for the court. The Zhang Action is narrowly focused on copyright

14   infringement, whereas the Leovy Action invokes a dozen theories of relief. The Zhang Action’s

15   two claims will require minimal discovery, relative to what the Leovy Action will need for its

16   twelve claims. And although there may be issues of law and fact that are similar in both cases,

17   because visual images are fundamentally different from other data modalities, legal and factual

18   issues specific to text-to-image AI models will dominate the Zhang Action. Because of the breadth

19   of claims and AI platforms at issue in the Leovy Action, those same issues will be much less

20   significant there. There are therefore no efficiency gains that would justify relating the two cases.
21   Instead, as each case is at a different procedural stage, it would complicate the proceedings in both
22   actions, leading to unnecessary delays. Separate adjudication would allow each case to be handled
23   more effectively and efficiently.
24            C. The First-to-File Rule Does Not Apply

25           When two actions involving the same parties and issues are pending concurrently, courts

26   in the Ninth Circuit follow the “first-to-file” rule whereby the court that first has possession of the

27   action decides it. See Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d 1237, 1240 (9th

28   Cir. 2015). The rule focuses generally on so-called “mirror-image” cases, where two identical

      Case No. 3:23-cv-3440-AMO                       4
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
                Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 6 of 7



 1   cases, involving the same parties and underlying claims, are proceeding in different courts. See

 2   Acclarent, Inc. v. Quest Med., Inc., No. C 06-00844 JF, 2006 WL 2982301, at *3 (N.D. Cal. Oct.

 3   17, 2006) (“When there are two mirror-image actions pending in different district[ courts], the

 4   ‘first to file’ rule may be invoked to give the first filed action priority.”).

 5              Although the “first-to-file” rule creates a general presumption that a first-filed suit has

 6   priority, that presumption is not applied in a rigid or mechanical way. See NBC Studios, LLC v.

 7   Dish Network Corp., No. CV 12-04536 DMG (SHx), 2012 WL 12886834, at *3 (C.D. Cal. Nov.

 8   8, 2012) (“[T]he first-to-file rule is ‘not a rigid or inflexible rule to be mechanically applied, but

 9   rather is to be applied with a view to the dictates of sound judicial administration.’” (citation

10   omitted)). Rather, because the complex problems that can arise from multiple federal filings do not

11   lend themselves to a rigid test, the district court is instead required to consider the equities of the

12   situation when exercising its discretion. See Alvarez v. YRC Inc., No. CV 12-01374-BRO (Ex),

13   2016 WL 11751961, at *6 n.11 (C.D. Cal. Apr. 24, 2017) (“The Court need not decide whether the

14   first-to-file rule applies in this case as, even assuming it applies, the Court determines that equities

15   weigh in favor of not applying it here.”).

16              Here, the first-to-file rule does not apply because, as noted above, (1) the parties, property,

17   transactions, and events are different, and (2) the Zhang and Leovy plaintiffs advance different

18   claims that will turn on different legal issues and involve different defenses. See Basbanes, et al.

19   v. Microsoft Corp., et al., No. 1:24-cv-00084 (S.D.N.Y.), Dkt. 46 (declining to apply first-to-file

20   rule to cases involving Open AI’s ChatGPT product). Considerations of equity and efficiency also
21   weigh sharply against relating the two actions. Compared to the Leovy Action, the Zhang Action

22   is streamlined, targeted, and, therefore, much more likely to resolve quickly. Indeed, despite a nine-

23   month head start, the Leovy Action is currently lagging behind the Zhang action. As matters stand,

24   the Zhang plaintiffs will have their case management conference nearly three months before the

25   Leovy plaintiffs. Relating the two actions would mean slowing the Zhang Action to a crawl for no

26   real benefit, a severely unfair outcome for the Zhang plaintiffs.

27       III.      CONCLUSION

28              For the reasons set forth above, the Court should deny Google’s motion.

      Case No. 3:23-cv-3440-AMO                         5
                             ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                                TO CONSIDER WHETHER CASES SHOULD BE RELATED
             Case 3:23-cv-03440-AMO Document 44 Filed 06/04/24 Page 7 of 7



 1   Dated: June 4, 2024                          By:           /s/ Joseph R. Saveri
                                                                    Joseph R. Saveri
 2

 3                                                Joseph R. Saveri (State Bar No. 130064)
                                                  Christopher K.L. Young (State Bar No. 318371)
 4                                                Elissa A. Buchanan (State Bar No. 249996)
                                                  Evan Creutz (State Bar. No. 349728)
 5                                                JOSEPH SAVERI LAW FIRM, LLP
                                                  601 California Street, Suite 1505
 6                                                San Francisco, CA 94108
 7                                                Telephone:     (415) 500-6800
                                                  Facsimile:     (415) 395-9940
 8                                                Email:          jsaveri@saverilawfirm.com
                                                                  cyoung@saverilawfirm.com
 9                                                                eabuchanan@saverilawfirm.com
                                                                  ecreutz@saverilawfirm.com
10

11                                                Matthew Butterick (State Bar No. 250953)
                                                  1920 Hillhurst Avenue, #406
12                                                Los Angeles, CA 90027
                                                  Telephone:     (323) 968-2632
13                                                Facsimile:     (415) 395-9940
                                                  Email:          mb@buttericklaw.com
14

15                                                Brian D. Clark (pro hac vice forthcoming)
                                                  Laura M. Matson (pro hac vice forthcoming)
16                                                Arielle S. Wagner (pro hac vice forthcoming)
                                                  Eura Chang (pro hac vice forthcoming)
17                                                LOCKRIDGE GRINDAL NAUEN PLLP
18                                                100 Washington Avenue South, Suite 2200
                                                  Minneapolis, MN 55401
19                                                Telephone:    (612) 339-6900
                                                  Facsimile:    (612) 339-0981
20                                                Email:          bdclark@locklaw.com
                                                                  lmmatson@locklaw.com
21
                                                                  aswagner@locklaw.com
22                                                                echang@locklaw.com

23

24

25

26

27

28

      Case No. 3:23-cv-3440-AMO                       6
                           ZHANG PLAINTIFFS’ OPPOSITION TO ADMINISTRATIVE MOTION
                              TO CONSIDER WHETHER CASES SHOULD BE RELATED
